  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 1 of 64




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------X
MICHAEL RAPAPORT and MICHAEL DAVID
PRODUCTIONS, INC.,

                Plaintiffs,
                                                 MEMORANDUM AND ORDER
          - against -
                                                  18 Civ. 8783 (NRB)
BARSTOOL SPORTS, INC., ADAM SMITH,
KEVIN CLANCY, ERIC NATHAN, and DAVID
PORTNOY,

               Defendants.
---------------------------------------X
BARSTOOL SPORTS, INC.,

                Counterclaimant,

          - against -

MICHAEL RAPAPORT and MICHAEL DAVID
PRODUCTIONS, INC.,

               Cross-Defendants.
---------------------------------------X
NAOMI REICE BUCHWALD
UNITED STATES DISTRICT JUDGE


    Actor and comedian Michael Rapaport and his production

company   Michael    David     Productions,     Inc.    (together,

“Rapaport”) brought this case against the sports and pop

culture website Barstool Sports Inc. (“Barstool”) and its

employees Adam Smith, Kevin Clancy, Eric Nathan, and David

Portnoy (together, the “Barstool Defendants”) for breach of

contract, fraud, and defamation arising out of Barstool’s

termination of its contract with Rapaport and subsequent
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 2 of 64



comments made by the Barstool Defendants.                Barstool asserted

a breach of contract counterclaim against Rapaport to recover

pre-paid   guarantees     that    Barstool      contends    Rapaport   must

repay because he was terminated for cause.

      Rapaport moves for summary judgment on six of his eight

breach of contract claims, his two fraud claims, his claim

for defamation, and Barstool’s counterclaim.               Barstool cross-

moves for summary judgment on the fraud and defamation claims.

For the reasons below, Rapaport’s motion is denied and the

Barstool Defendants motion is granted.

                                BACKGROUND 1

      Michael Rapaport is a well-known actor, comedian, and

podcast    show   host   who    has    gained   popularity    as   a   media

personality in part because of his reputation for sharing

“unfiltered” views on politics, sports, and popular culture.

      In 2014, Rapaport launched a podcast show called “I AM

RAPAPORT” to “share[] his strong, funny & offensive points of

view on life, sports, music, film & everything in between.”

While   under     contract     with    CBS,   Rapaport    broadcast    I   AM

RAPAPORT on CBS Radio from 2015 through 2017.                 In 2016, as


      1     This factual summary is derived from Rapaport’s Rule 56.1
Statement of Material Facts and the Barstool Defendants’ corresponding
Counterstatement (ECF No. 124 (“DCSOMF”)), the Barstool Defendants’ Rule
56.1   Statement  of   Material   Facts  and   Rapaport’s   corresponding
Counterstatement (ECF No. 141 (“PCSOMF”)), and the declarations submitted
in support of the parties’ motions (ECF Nos. 106-114, 127-131, 143-46,
149).



                                      – 2 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 3 of 64



the I AM RAPAPORT show was attracting a larger following,

Barstool approached Rapaport about leaving CBS to produce his

podcast    and   other    content    for    Barstool’s        platforms.

Barstool, which is a media company that produces online

articles, blogs, podcasts, videos, radio shows, and other

media about sports and popular culture, has cultivated its

brand around providing “unfiltered,” “controversial,” crass,

and sometimes humorous views on these topics.            Accordingly,

Portnoy,     Barstool’s   founder   and    Head   of   Content,    told

Rapaport that he would be a great fit at Barstool.

     While    other   media   companies    pursued     him,    Rapaport

ultimately decided to join Barstool.        On May 17, 2017, after

several months of negotiations, Barstool and Rapaport entered

into a “Term Sheet,” which Rapaport was obligated to present

to CBS pursuant to CBS’s first right of refusal.               The Term

Sheet provided that Rapaport would produce his podcast on

Barstool’s platform and create recurring short-form videos

and additional digital content for Barstool in exchange for

$600,000 over a one-year term based on a revenue-sharing

agreement.     The Term Sheet also stated that, contingent on

Barstool entering into an agreement with SiriusXM satellite

radio (“Sirius”), Barstool and Rapaport would work towards

developing a daily radio show for which Rapaport would earn




                               – 3 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 4 of 64



$375,000.     After being presented with the Term Sheet, CBS

declined to exercise its right to match its terms.

     On June 17, 2017, Barstool and Rapaport executed the

“Talent     Agreement”    that      ultimately        governed     their

professional    relationship.      As    discussed    in    more   detail

below, the Talent Agreement in relevant part provides that:

     •    (1) the Talent Agreement supersedes any prior
          agreements or understandings between the parties;
     •    (2) Rapaport is being hired            as    an   independent
          contractor for a one-year term;
     •    (3) Rapaport is entitled to 60% of the revenues for
          his videos, podcasts, and related merchandise with
          Barstool obligated to pre-pay him $600,000 in
          guarantees spread across the term of the Talent
          Agreement;
     •    (4) Barstool must “use good faith efforts to secure
          an opportunity for [Rapaport] to produce and host a
          1-2 hour, weekday . . . show in a format to be agreed
          upon by the parties (e.g., a Sirius radio show, a
          terrestrial radio show, a podcast, a video series)”
          and “[i]n the event such a [show] comes to fruition,
          Barstool will pay [Rapaport] a fixed fee of $375,000,
          unless otherwise agreed”;
     •    (5) Barstool acknowledges Rapaport’s pre-existing
          relationships with Casper and DraftKings and shall
          have no right to any sums paid to Rapaport under any
          of the related agreements with those companies;
     •    (6) Barstool can terminate Rapaport for convenience
          after providing 90 days’ notice and for a material
          breach of the Talent Agreement after providing 15
          days’ notice and an opportunity to cure, but can
          terminate Rapaport immediately for conduct that
          brings himself or Barstool into “public disrepute”;
          and
     •    (7) based on the circumstances of Rapaport’s
          termination, the parties may be obligated to pay or




                                 – 4 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 5 of 64



          repay to the other certain revenue                  earned     or
          distributed before the termination.

        Eight months into the contractual term, Barstool and

Rapaport’s relationship disintegrated entirely.               By October

2017,    Barstool’s   CEO    told    a   Sirius   representative       that

Barstool would opt not to renew Rapaport’s contract at that

point if its term were expiring.          And, despite launching its

own station on Sirius, Barstool did not include a weekday

Rapaport show as part of its lineup and also failed to

communicate to Rapaport potential opportunities to contribute

to other Sirius shows, ostensibly because of budget concerns.

     At the same time, Rapaport engaged in public disputes

with other Barstool employees over social media.                  Notably,

this included an argument between Rapaport and Smith over

Rapaport’s supposed failure to pay Smith for bets lost on

fantasy football and an amateur boxing match.

        In February 2018, the animosity between Barstool and

Rapaport came to a head. On February 17, 2018, after Rapaport

accused Smith on Twitter of taking steroids to help win the

amateur boxing match in question, an individual replied to

Rapaport’s    tweet   by    urging   Barstool     to   take   a   poll   of

Rapaport’s popularity among fans of Barstool (“Stoolies”).




                                 – 5 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 6 of 64



Rapaport retorted by tweeting: “[I]f you call yourself a

fucking stoolie for real, you’ve already lost in life.”




     Barstool terminated Rapaport’s contract the next morning

through a text message sent to Rapaport by Portnoy, which

stated that Rapaport was being fired because of what happened

“last night.”     Later that day, Portnoy posted a video to

Twitter    announcing     that     Barstool     fired    Rapaport    for

“insult[ing Barstool’s] entire fucking fanbase.”

     Rapaport’s rejoinder was to log into Barstool’s Twitter

account, to which he still had access, and publish a video

accusing   Portnoy   of   being,    among     other   things,   a   “dumb



                                 – 6 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 7 of 64



motherfucker,” a “dumb fuck,” and a “bitch.”              Rapaport then

posted   to    his   personal    Twitter      account    the   following

photoshopped    picture   of    him    (back)   and     Portnoy   (front)

appearing to engage in anal sex:




     In the ensuing months, the Barstool Defendants published

dozens   of   tweets,   blog    posts,   online    articles,      videos,

podcasts, and radio shows that accused Rapaport of being

racist, a fraud, a hack, a wannabe, and a liar, having herpes,

and stalking and beating his former girlfriend.

                          LEGAL STANDARDS

     Under    Federal   Rule    of    Civil   Procedure    56,    summary

judgment is only appropriate when “the movant shows that there


                                 – 7 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 8 of 64



is no genuine dispute as to any material fact and the movant

is entitled to judgment as a matter of law.”           Fed. R. Civ. P.

56(a).    “An issue of fact is genuine and material if the

evidence is such that a reasonable jury could return a verdict

for the nonmoving party.”           Cross Commerce Media, Inc. v.

Collective, Inc., 841 F.3d 155, 162 (2d Cir. 2016) (citation

omitted).

      The party moving for summary judgment bears the burden

of demonstrating the absence of an issue of material fact.

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). 2                When

considering    whether    summary   judgment    is   appropriate,     the

Court must “construe the facts in the light most favorable to

the nonmoving party and must resolve all ambiguities and draw

all reasonable inferences against the movant.”            Brod v. Omya,

Inc., 653 F.3d 156, 164 (2d Cir. 2011) (citation omitted).

      Ultimately, “[i]f there is any evidence in the record

from which a reasonable inference could be drawn in favor of

the non-moving party on a material issue of fact, summary

judgment is improper.”       Westinghouse Credit Corp. v. D’Urso,



      2     As provided under S.D.N.Y. Local Rule 56.1, the Court shall
deem the facts set forth in a party’s Statement of Material Facts that
are supported by citation to evidence that could be introduced in
admissible form at trial “to be admitted for purposes of the motion unless
specifically controverted by a correspondingly numbered paragraph in the
statement required to be served by the opposing party” that likewise cites
to evidence that could be admitted at trial. S.D.N.Y. Local R. 56.1(c),
(d).



                                 – 8 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 9 of 64



278 F.3d 138, 145 (2d Cir. 2002) (citation omitted); see Brown

v. Cara, 420 F.3d 148, 152 (2d Cir. 2005) (“We will affirm

the District Court’s grant of summary judgment to defendants

only if, based on facts not in genuine dispute and drawing

all   inferences    in    favor    of     plaintiffs,    defendants   are

entitled to judgment on the merits as a matter of law.”).

                         EVIDENTIARY OBJECTIONS

      Before discussing the merits of the parties’ motions,

the Court first addresses some of the broad evidentiary

objections lodged in response to the Rule 56.1 Statements of

Material Facts.

      Rapaport repeatedly objects to Barstool’s introduction

of Bates-stamped discovery materials through the declaration

of Barstool’s counsel on the basis that counsel lacks personal

knowledge    of    the    accuracy      of   the   documents’    content.

Incredibly, Rapaport’s objections extend to documents that

Rapaport himself produced in discovery.            These objections are

not   well   taken       and,     quite      frankly,   are     borderline

sanctionable considering that Rapaport also introduced Bates-

stamped exhibits into the record through the declaration of

his litigation counsel.         As the attorney of record in this

litigation, Barstool’s counsel has personal knowledge that a

given document was produced in discovery, as evidenced by the

Bates stamp on the face of the document.                Moreover, all of


                                   – 9 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 10 of 64



these objections have been advanced without any claim that

the underlying documents are forgeries or otherwise phony.

Accordingly,    the     declaration      of     Barstool’s      counsel     is

sufficient to properly put those documents before the Court.

See United States v. Letscher, 83 F. Supp. 2d 367, 381

(S.D.N.Y. 1999) (finding the “usual” practice of “put[ting]

documents before the Court on summary judgment motions as

enclosures     to     counsel’s    affidavit”         to   be   proper    and

unobjectionable).

       The parties also object that the opposing side has not

laid the foundation to authenticate documents produced in

discovery.      The    Court,     however,     “has    the   discretion     to

consider unauthenticated . . . evidence where it is apparent

that   the   party    may   be   able   to    authenticate      . . .    those

documents at trial.”        Bhd. Mut. Ins. Co. v. Ludwigsen, No. 16

Civ. 6369 (CS), 2018 WL 4211319, at *5 n.6 (S.D.N.Y. Sept. 4,

2018) (citations omitted).         Here, as the parties could easily

produce a knowledgeable custodian at trial to authenticate

the documents they produced in discovery, the Court will

consider the otherwise unobjectionable evidence contained in

the summary judgment record.

       Finally, the parties also raise hearsay objections on

the basis that the opposing side is offering documentary

evidence that reflects out-of-court statements for the truth


                                   – 10 –
     Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 11 of 64



of the matter stated. However, “material relied on at summary

judgment need not be admissible in the form presented to the

district court.”       Smith v. City of New York, 697 F. App’x 88,

89 (2d Cir. 2017) (summary order).              Instead, the Court may

consider the evidence in question so long as it can be

presented in admissible form at trial.              Id. (citing Fraser v.

Goodale,     342     F.3d   1032,   1036     (9th   Cir.   2003)    for    the

proposition that “[a]t the summary judgment stage, we do not

focus on the admissibility of the evidence’s form[; w]e

instead focus on the admissibility of its contents”); see

also S.D.N.Y. Local R. 56.1(d) (Each assertion in a Rule 56.1

statement “must be followed by citation to evidence which

would be admissible.”). Most of the objections could be cured

by calling a knowledgeable witness to introduce the facts

contained in document or by laying a proper foundation to

introduce the record as under the business records exception

to the rule against hearsay.            Accordingly, in deciding the

summary judgment motions, the Court considers all evidence

that     a   party    could   potentially      introduce    at     trial   in

admissible form.

                                DISCUSSION

I.     Breach of Contract

       Rapaport moves for summary judgment on six of his eight

breach of contract claims as well as Barstool’s counterclaim



                                    – 11 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 12 of 64



for breach of contract.       These claims all arise out of the

Talent Agreement, which is governed by New York law, as

provided by Section 9.c. of the Standard Terms appended to

the Talent Agreement.

     To succeed on a breach of contract claim under New York

law, Rapaport must establish “(1) an agreement, (2) adequate

performance by the plaintiff, (3) breach by the defendant,

and (4) damages.”    Fischer & Mandell, LLP v. Citibank, N.A.,

632 F.3d 793, 799 (2d Cir. 2011) (citation omitted).             There

is no dispute that the Talent Agreement is a valid contract

between the parties, and thus the Court analyzes whether

Rapaport has established that there exists no dispute of

material fact for the other three elements and, conversely,

whether Barstool cannot as a matter of law establish the

elements to support its counterclaim based on undisputed

facts.

     A.    Barstool’s Immediate Termination of Rapaport

     Two   of    Rapaport’s   breach    of   contract   claims    and

Barstool’s counterclaim turn on whether Barstool wrongfully

terminated Rapaport following his February 2018 tweet stating

that “if you call yourself a fucking stoolie for real, you’ve

already lost in life.”        At a basic level, Rapaport argues

that Barstool terminated the Talent Agreement improperly and

without cause.     Barstool contends that Rapaport’s immediate


                               – 12 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 13 of 64



termination was justified and permitted under the Talent

Agreement.     If supported, each party’s argument leads to a

different     calculation      of    monies   owed   under   the    Talent

Agreement.

       The portions of the Talent agreement relevant to these

claims follow.

       First, with respect to termination, Section 5 of the

Talent Agreement states that “either party may terminate this

Agreement for convenience upon 90 days’ written notice to the

other [party.]”       Section 3.a. of the Standard Terms appended

to the Talent Agreement further states that

             [E]ither party may . . . terminate this
             Agreement at any time for cause upon the
             other’s    material     breach     of   this
             Agreement, which is not cured within
             fifteen   (15)    days’    written    notice
             thereof. . . . [Barstool] also ha[s] the
             right to immediately terminate this
             Agreement    upon    written     notice   to
             [Rapaport] in the event that [Rapaport]
             . . . engage[s] in conduct that brings
             [Rapaport]   or    Barstool    into   public
             disrepute.

In other words, Barstool could only terminate the Talent

Agreement immediately if Rapaport brought himself or Barstool

“into public disrepute.”            Otherwise, Barstool would have to

give    Rapaport      either    15-     or    90-days’   notice     before

terminating     the    Talent    Agreement,     depending    on    if   the

termination was for cause or for convenience.




                                    – 13 –
     Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 14 of 64



       Next, under Section 1 of the Talent Agreement, Rapaport

agreed to produce a recurring podcast and to regularly film

short videos of him sharing his thoughts (the “Rant Videos”).

In turn, Sections 8 through 10 govern how the parties would

split the revenues from that media.              Section 9 states that

Rapaport is entitled to 60% of the revenues that Barstool

derives from Rapaport’s podcast, the Rant Videos, and sales

of    merchandise    related   to    Rapaport.     Sections   8   and   10

guaranteed Rapaport $600,000 for the first year for the

podcast and Rant Videos, payable in four installments.              That

$600,000 guarantee represents 60% of the first $1 million

Barstool stood to earn collectively on Rapaport’s podcast and

Rant Videos, regardless of whether Barstool actually made

that amount.        Any revenues Barstool derived above $666,666

for the podcast or above $333,333 for the Rant Videos would

then be divided 60-40 between Rapaport and Barstool.              At the

time Barstool terminated the Talent Agreement, it had paid

Rapaport $400,000 in pre-paid guarantees.

       Finally, Section 3.b. of the Standard Terms states:

             In the event the Term is terminated by
             Barstool for convenience . . . ,
             [Rapaport’s $600,000 guarantee] will be
             due and payable in full. In the event the
             Term is terminated for any other reason
             . . . , any pre-paid portions of [the
             $600,000 guarantee] will immediately be
             refunded to Barstool and the only amounts
             owed to [Rapaport] will be [Rapaport’s


                                    – 14 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 15 of 64



             60%] share of any Rant Revenue or Podcast
             Revenue collected by Barstool through the
             date of termination.

Thus, if Barstool wrongfully terminated the Talent Agreement

without    cause,     Barstool      would    have    to     pay   Rapaport    the

remaining $200,000 installment of the $600,000 guarantee and

potentially 60% of the revenues derived from Rapaport-related

merchandise sold after his termination during the notice

periods described above.             On the other hand, if Barstool

properly terminated the Talent Agreement for cause, Rapaport

would owe Barstool the $400,000 in guaranteed payments he

collected minus 60% of the actual revenues Barstool earned on

the podcast and Rant Videos.

     Here, Rapaport asserts that Barstool lacked cause to

immediately terminate the Talent Agreement and thus violated

the Agreement by terminating it without providing Rapaport

either    (1)   15   days     to    cure    any   alleged     breach     of   the

Agreement,      or   (2)     90    days’    notice     of    termination      for

Barstool’s      convenience.         Barstool       maintains     that   it   was

justified in immediately terminating the Talent Agreement

because Rapaport’s February 2018 tweet brought Barstool into

public disrepute.            Rapaport argues in response that his

February   2018      tweet    did    not    bring    Barstool     into   public

disrepute because (1) it was intended to be directed at a

single person, and (2) Barstool has a well-known reputation


                                     – 15 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 16 of 64



for controversy.    Rapaport further claims that Barstool’s use

of the February 2018 tweet to terminate the Talent Agreement

was pretextual, as the evidence shows that Barstool’s CEO had

expressed doubts in October 2017 about whether Barstool would

renew Rapaport’s contract.

     Whether the evidence demonstrates that Rapaport’s tweet

actually brought Barstool into public disrepute and thus

permitted    Barstool   to    immediately    terminate      the   Talent

Agreement is a disputed issue of material fact that must be

resolved by a jury following trial.              As a reasonable jury

could find that Rapaport’s tweet attacking Barstool’s fanbase

brought Barstool’s brand into disrepute, Rapaport is not

entitled to summary judgment on these claims.

     As     an   independent    ground      to    dismiss    Barstool’s

counterclaim, Rapaport asserts that Barstool cannot establish

damages even if it were justified in immediately terminating

the Talent Agreement.        According to Rapaport, 60% of actual

revenues earned by Barstool from the Rant Videos and podcast

that he would be entitled to is more than the $400,000

guarantee    Barstool   advanced   to    Rapaport.       Specifically,

Rapaport asserts that 60% of the revenue attributable to him

is $417,646, which Rapaport derives from a January 2018

document     created    by    Barstool    entitled     “Net       Revenue

Calculation.”    That document states that the “Lifetime Gross


                                – 16 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 17 of 64



Ad Revenue Earned” is $417,646 and that the amount “Remaining

to Recoup” is $182,354.          While Rapaport submits that the

“Lifetime Gross Ad Revenue Earned” refers to his share of the

revenues, Barstool maintains that this sum represents the

total revenue, of which Rapaport is only entitled to 60%, or

$250,587.60. If Barstool’s assertion were true, then it would

be able to establish damages, as Rapaport would owe Barstool

the   difference       between    $400,000.00     and     $250,587.60:

$149,412.40.

      Because   the    parties   dispute   how   much    total    revenue

Barstool generated from Rapaport’s podcast and Rant Videos,

this too is a factual issue that must be decided by the finder

of fact following trial.

      B.   Barstool’s “Good Faith” Efforts to Secure Rapaport
           an Opportunity for a Weekday Show

      Rapaport’s      next   breach   of   contract     claim    concerns

Barstool’s “good faith” efforts to provide Rapaport with an

opportunity for a weekday show on Sirius.          As relevant here,

Section 12 of the Talent Agreement provides:

           Barstool will use good faith efforts to
           secure an opportunity for [Rapaport] to
           produce and host a 1-2 hour, weekday . . .
           show in a format to be agreed upon by the
           parties (e.g., a Sirius radio show, a
           terrestrial radio show, a podcast, a video
           series) . . . .     In the event such a
           [show] comes to fruition, Barstool will
           pay [Rapaport] a fixed fee of $375,000,
           unless otherwise agreed . . . .


                                 – 17 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 18 of 64



     “Whether a party has acted in good faith” in performing

its contractual obligations “is typically a question to be

answered by the trier of fact, not in a summary judgment

motion,”      as    “[i]ssues   of    motive    simply   are     not   easily

determinable before trial on the basis of a limited record

without the ability to assess the credibility of witnesses.”

G. Golden Assocs. of Oceanside, Inc. v. Arnold Foods Company,

Inc.,   870    F.    Supp.    472,   478     (E.D.N.Y.   1994)   (citations

omitted); see RJ Capital, S.A. v. Lexington Capital Funding

III, Ltd., No. 10 Civ. 25 (PGG), 2013 WL 1294515, at *13

(S.D.N.Y. Mar. 30, 2013) (“[W]hether a party to a contract

has acted in good faith generally presents a question of fact

for a jury.”) (citations omitted).

     Rapaport insists that summary judgment is appropriate

because there is no evidence in the record that Barstool made

any good faith efforts whatsoever to secure Rapaport a radio

show on Sirius.         Rather, according to Rapaport, the record

shows   that       Barstool   failed    to    tell   Rapaport    about   two

proposals that Sirius presented to Barstool about a show for

Rapaport and that Barstool removed Rapaport from a list of

initial hosts when launching Barstool’s Sirius channel.

     Barstool strenuously disagrees with Rapaport’s view of

the evidence.        Barstool points to evidence of communications

it had with Sirius in which Barstool raised concerns about


                                     – 18 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 19 of 64



budgeting for Rapaport’s show as a reason why it removed

Rapaport from a draft lineup of hosts and why it did not

immediately provide Rapaport with a show on Sirius.        Barstool

also references emails between Barstool’s CEO and Rapaport’s

representatives as late as January 2018 in which the two sides

discussed using Rapaport’s podcast content on Sirius, having

Rapaport contribute content for Barstool’s Sirius station

over the NBA All-Star game weekend, and using the All-Star

festivities as an opportunity to launch a radio show for

Rapaport on Sirius.

     This is not the rare circumstance in which a party’s

motives and good faith efforts can be determined as a matter

of law at the summary judgment stage. Construing the evidence

in the light most favorable to Barstool, we cannot say that

no reasonable jury could find on this record that Barstool

categorically failed to live up to its obligation to use good

faith efforts.   Rather, that issue must be decided by a jury

after weighing the documentary record, the credibility of the

witnesses, and the plausibility of Barstool’s explanations

for why it never secured a radio show for Rapaport.

     C.   Barstool’s   “Good  Faith”   Efforts   to         Acquire
          Advertisers for Rapaport’s Rant Videos

     Rapaport    similarly   claims    that   Barstool   failed      to

“[r]easonably promote” the short Rant Videos and to “[u]se




                              – 19 –
     Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 20 of 64



good faith efforts to promote [Rapaport] and [his] brand,” as

provided by Section 4 of the Talent Agreement.

       In support, Rapaport argues that Barstool never acquired

advertisers for the Rant Videos during Rapaport’s employment

and that Rapaport was able to secure advertisers for these

videos shortly after he was fired. 3          Rapaport further asserts

that Barstool blocked Rapaport’s involvement with Barstool’s

business partners and tarnished Rapaport’s brand by attacking

him even before he was terminated.

       Barstool maintains that it did make good faith efforts

to promote Rapaport and his brand and that it reasonably tried

to obtain advertising for the Rant videos, but found the

market for advertisers volatile because Rapaport was viewed

as    “very    unpredictable”     and   his   videos   “were   extremely

unfriendly from an advertising perspective” due to Rapaport

“us[ing] the word cunt incessantly.”

       On     its    face,   Rapaport’s    claims   are   difficult     to

comprehend.         Throughout the entirety of the contractual term,

Barstool had every incentive to profit from Rapaport’s Rant

Videos by acquiring advertisers.           Indeed, Barstool contracted


      3     Barstool objects that Rapaport did not cite record evidence
to support the proposition that Barstool never secured any advertising
for the Rant videos during Rapaport’s tenure. (See DCSOMF ¶ 400 (citing
the Declaration of Jordan Winter (ECF No. 114) ¶¶ 16-20.)     The Court
agrees that the cited evidence does not establish that Barstool never
secured advertising for the Rant Videos, which is an independent reason
to deny Rapaport’s motion for summary judgment on this issue.



                                  – 20 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 21 of 64



with Rapaport to pay him a minimum guarantee of $200,000 for

those videos, and thus would not “break even” under the terms

of the parties’ revenue sharing arrangement until it earned

at least $333,333 in revenue from the Rant Videos.                This

record establishes, at the very least, that the parties’

interests in generating advertisements for the Rant Videos

were mutually aligned for the duration of the contractual

term.     Given the difficulties in proving a lack of good faith

when the parties’ interests are coterminous, the Court would

have given serious consideration to granting a motion by

Barstool for summary judgment on this claim, had it filed

one. 4

         Ultimately, while Rapaport will face serious challenges

in proving bad faith given the alignment of the parties’

interests, there remains a dispute of material fact that must

be resolved by the trier of fact and thus summary judgment is

not appropriate.




      4     See, e.g., Wagner v. JP Morgan Chase Bank, No. 06 Civ. 3126
(RJS), 2011 WL 856262, at *4 (S.D.N.Y. Mar. 9, 2011) (granting summary
judgment to defendant on claim that it failed to perform its good faith
obligations under the contract because, since the beginning of the
contract, the parties’ “interests were perfectly aligned” and, “[g]iven
this alignment of interests, there is no credible evidence showing that
[d]efendant sabotaged its own [interests]” in order to harm those of
plaintiffs, which the court suggested would be a “bizarre scenario”)
(citation omitted).



                               – 21 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 22 of 64



     D.     Barstool’s Advertising Revenue from Contracts With
            DraftKings and Casper

     We next turn to Rapaport’s claim that Barstool breached

the Talent Agreement by wrongfully retaining revenue paid by

DraftKings and Casper to advertise on Rapaport’s podcast.                   As

relevant to this claim, Section 13 of the Talent Agreement

provides:

            Barstool acknowledges [Rapaport’s] pre-
            existing    relationships   with   . . .
            DraftKings . . . and Casper and agrees
            that [Rapaport] shall have the right to
            continue such relationships during the
            Term; Barstool further acknowledges that
            it shall have no right to any sums paid
            to [Rapaport] under any of the related
            agreements with those companies.

     After the Talent Agreement was executed, both DraftKings

and Casper signed contracts with Barstool to advertise with

Barstool,      including    on   podcasts      and   videos      produced   by

Rapaport, under which Barstool collected $157,000.                      With

respect   to    this    claim,     Rapaport    argues     that    Section   13

unambiguously provides that Barstool has no right to any money

generated      from    contracts    with     DraftKings    and     Casper   to

advertise with Rapaport, and thus he is entitled to the

$157,000.      Barstool reads Section 13 as only limiting its

ability to collect advertising fees paid by DraftKings and

Casper    to    Rapaport     under     pre-existing        contracts    with

Rapaport.




                                    – 22 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 23 of 64



       The record is unclear about whether Rapaport continued

to collect money from pre-existing contracts with DraftKings

and Casper to advertise on his shows.                If not, Barstool’s

contracts with the companies would seem to frustrate the

central purpose of this contractual provision, which was to

safeguard     Rapaport’s       revenue   streams   from   DraftKings   and

Casper.       Under such circumstances, a reasonable finder of

fact    may     find    that     Barstool    breached     the   contract.

Conversely,     if     Barstool’s    contracts     with   DraftKings   and

Casper did not substitute for revenues from the companies

that Rapaport was intending to protect, then a reasonable

jury may determine that no breach occurred.                 As questions

remain about the factual record that must be resolved by the

trier of fact, summary judgment on this claim is denied.

       E.     Compensation for the “Death Wish” Digital Short
              Video

       We finally turn to Rapaport’s claim that Barstool failed

to compensate him for his help producing a digital short video

promoting the film “Death Wish” that Barstool published on

its blog.      Under Section 1 of the Talent Agreement, Rapaport

agreed to

              [P]roduce,   edit    and   deliver   . . .
              [d]igital shorts and other short form
              digital content to be mutually agreed upon
              and subject to the parties’ agreement
              (after good faith negotiation) regarding




                                    – 23 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 24 of 64



             ownership, responsibility for costs and
             split of revenue in connection therewith.

      The provision is clearly conditional: the parties must

agree on the digital content and negotiate an agreement on

ownership,     costs,     and    revenue    splitting      before    Rapaport

incurs any obligation to produce videos and Barstool incurs

any obligation to share revenues from those videos.

      In support of his claim, Rapaport fails to introduce any

evidence that the parties reached any agreement on these

items.      Thus, the conditions of this conditional provision

have not been met.              Rapaport instead argues that as an

independent contractor he is entitled to compensation for

each service that he provided to Barstool and also that he

should not be penalized for Barstool’s failure to negotiate

terms for a time-sensitive project.                There is, however, no

evidence in the record of Barstool’s bad faith.                 Rather, it

appears that Rapaport went ahead and assisted with producing

the “Death Wish” video without securing an agreement from

Barstool.     While Rapaport may regret having contributed to

the   production     of   the    “Death    Wish”    video    without    first

reaching an agreement with Barstool, that is not a predicate

upon which to hold Barstool liable under the Talent Agreement.

      The    Court    therefore      concludes      that     there     is   no

reasonable dispute of material fact on this claim and that no




                                   – 24 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 25 of 64



reasonable jury could find in favor of Rapaport on this

record.       While   Barstool   did   not    cross-move   for   summary

judgment on this claim, the Court has the authority to award

summary judgment in Barstool’s favor under Federal Rule of

Civil Procedure 56(f)(1), 5 and the Court does so here on this

claim.

II.   Fraud

      The     parties   cross-move      for    summary     judgment    on

Rapaport’s claims for fraudulent concealment and fraudulent

inducement.      These claims arise out of Barstool’s supposed

misrepresentations to Rapaport about securing a weekday radio

show for Rapaport.

      Under New York law, a party cannot maintain a claim for

fraud when it arises from the same conduct underlying a breach

of contract claim.       See Gorman v. Fowkes, 949 N.Y.S.2d 96,


      5     Under Federal Rule of Civil Procedure 56(f)(1), the Court may
“grant summary judgment for a nonmovant” after “giving notice and a
reasonable time to respond.” As made clear by the Second Circuit, formal
notice is not required, as long as the party is not procedurally
prejudiced by not being able to present evidence in favor of its position.
Bridgeway Corp. v. Citibank, 201 F.3d 134, 139-40 (2d Cir. 2000). Where,
as here, “it appears clearly upon the record that all of the evidentiary
materials that a party might submit in response to a motion for summary
judgment are before the court, a sua sponte grant of summary judgment
against that party may be appropriate if those materials show that no
material dispute of fact exists and that the other party is entitled to
judgment as a matter of law.” Id. at 140 (“[T]he threat of procedural
prejudice is greatly diminished if the court’s sua sponte determination
is based on issues identical to those raised by the moving party,” and
“the moving party speaks to those issues in the course of the district
court proceedings.”) (citations omitted).       As Rapaport has had an
opportunity submit all relevant evidence on this issue in support of his
motion for summary judgment, there is no procedural prejudice to granting
summary judgment in favor of Barstool.



                                 – 25 –
     Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 26 of 64



97–98 (N.Y. App. Div. 2012).             To show that his fraud claim

does not duplicate his breach of contract claim, Rapaport

must (1) establish a legal duty separate from Barstool’s duty

to perform under the contract, (2) demonstrate a fraudulent

misrepresentation extraneous to the contract, or (3) identify

special damages.         Bridgestone/Firestone, Inc. v. Recovery

Credit     Services,     Inc.,   98   F.3d      13,    20     (2d    Cir.   1996)

(citations omitted).

       Here, Rapaport attempts to fit within this framework by

presenting      his    fraud     claim    as     resting       on    Barstool’s

“extraneous” misrepresentations about its ability and intent

to obtain Rapaport a weekday show. 6                 For instance, Rapaport

claims that Barstool failed to disclose that it would place

onerous preconditions on securing a show for Rapaport, such

as    insisting   that    Sirius   cover       all    costs    for    the   show.

However, the imposition of unreasonable preconditions would

violate     Barstool’s    contractual        duty     to    use     “good   faith



      6      Rapaport also claims that Barstool had an independent duty to
disclose the status of its negotiations with Sirius separate from the
contract. Under New York law, a party may have a duty to disclose when
(1) it is in a fiduciary role, (2) it made a misleading partial disclosure,
or (3) it has superior knowledge that is not readily available to the
counterparty and knows that the counterparty is acting on mistaken
knowledge. Aetna Cas. & Sur. Co. v. Aniero Concrete Co., 404 F.3d 566,
582 (2d Cir. 2005) (citations omitted). Rapaport offers no argument in
support of the first two scenarios. As for the special facts doctrine,
the record shows that Rapaport knew about the tentative nature of the
Barstool-Sirius negotiations when entering the Talent Agreement; the
record does not support a finding that Barstool had to disclose to
Rapaport more granular details of its negotiations.



                                   – 26 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 27 of 64



efforts” to secure Rapaport an opportunity to host a show.

Likewise, Rapaport complains that Barstool failed to disclose

that aspects of its negotiations with Sirius suggested that

a Rapaport show might not be able to launch on Sirius for

several months.        That, too, overlaps with Barstool’s good

faith obligations, as an unreasonable delay is emblematic of

bad faith.

     Moreover,      Rapaport’s        claims   focus      exclusively    on

representations about securing a potential show with Sirius.

This focus fails to acknowledge the breadth of the good faith

provision     in   the   Talent       Agreement,       which    contemplated

Barstool looking for opportunities for a “show in a format to

be agreed upon by the parties (e.g., a Sirius radio show, a

terrestrial    radio     show,    a   podcast,     a    video   series)[.]”

Consequently,        Rapaport’s          exclusive         emphasis      on

representations about Sirius is misplaced, as the Talent

Agreement was not so limited.

     The drafting history of the good faith efforts provision

further confirms the duplicative nature of Rapaport’s claims.

In April 2017, nearly five weeks after Barstool first told

Rapaport that its “goal” was to reach an agreement with Sirius

in three weeks, Rapaport insisted on adding the following

language to the draft Talent Agreement to protect his interest




                                  – 27 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 28 of 64



in securing a weekday show after Barstool proposed removing

references to a Sirius show from the draft contract:

            Good faith efforts by Barstool Sports
            about if/when they come to terms with
            Barstool Radio or Sirius XM for a channel
            that would lead to [Rapaport] hosting a
            1-2 hour, weekday (i.e., 5 days a week)
            podcast or radio show[.]

      After further negotiations, the parties agreed on the

final language that appears in the Talent Agreement.                And, on

May   31,   knowing    that     Barstool    had    not   yet   reached   any

agreement    with     Sirius,    Rapaport    decided      to   nevertheless

execute the Talent Agreement.         Thus, the record clearly shows

that Rapaport was the party who insisted on adding the good

faith efforts language to protect his interests and that

Rapaport felt comfortable entering into the contract with

that language despite the obvious uncertainty surrounding a

Barstool-Sirius deal.

      Accordingly,      the   Court   finds       that   Rapaport’s   fraud

claims about Barstool’s ability and obligation to secure him

an opportunity for a weekday show impermissibly duplicate his

breach of contract claim premised on the “good faith efforts”

provision of the Talent Agreement. 7               Barstool is therefore

entitled to summary judgment on Rapaport’s fraud claim.


      7     See Gorman, 949 N.Y.S.2d at 97–98 (opining that when “the
alleged misrepresentations amount[] only to a misrepresentation of the
intent or ability to perform under the contract,” then a claim for “fraud
[is] wholly duplicative of the breach of contract claim”) (citation


                                  – 28 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 29 of 64



III. Defamation

     The     parties       cross-move      for       summary     judgment    on

Rapaport’s claim for defamation based on approximately 80

representations published by the Barstool Defendants.                         At

bottom,    these    statements       accuse     Rapaport       of:   (1)   being

racist; (2) being a fraud, a hack, and a wannabe; (3) having

herpes;    and    (4)     stalking   and   abusing      his    ex-girlfriend.

(DCSOMF ¶¶ 190-264.)

     Under New York law, which the parties agree applies to

Rapaport’s       claim,    to   prevail    on    a   claim     for   defamation

Rapaport must establish five elements:                    (1) a defamatory

statement of fact concerning the plaintiff; (2) published by

the defendant to a third party; (3) fault established by

defendant’s actual malice, as the libeled party is a public

figure; (4) falsity of the defamatory statement; and (5)

special damages or per se actionability (that is, a statement

that is defamatory on its face).                     See Celle v. Filipino

Reporter Enterprises Inc., 209 F.3d 163, 176 (2d Cir. 2000)

(citations omitted).            The Barstool Defendants attack the

first element by arguing that the challenged representations

are not actionable assertions of fact.



omitted); see also Mariano v. CVI Investments Inc., 809 F. App’x 23, 27
(2d Cir. 2020) (summary order) (affirming dismissal of fraud claim
“because it turns on conduct that was expressly contemplated by the
contract”) (citation omitted).



                                     – 29 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 30 of 64



      A.    Legal Standards Governing Whether a Statement is an
            Actionable Assertion of Fact or Non-Actionable
            Opinion

      Under both the First Amendment and New York law, for a

statement    to    be   actionable    for   defamation      it   must   be

understood by a reasonable audience as asserting an objective

fact about plaintiff as opposed to the author’s opinion.                See

Mann v. Abel, 10 N.Y.3d 271, 276 (N.Y. 2008) (“Expressions of

opinion,    as    opposed   to   assertions    of   fact,    are   deemed

privileged and, no matter how offensive, cannot be the subject

of an action for defamation.”) (citations omitted); Gross v.

New York Times Co., 82 N.Y.2d 146, 152-53 (N.Y. 1993) (“[O]nly

statements alleging facts can properly be the subject of a

defamation action.”) (citations omitted). 8

      Whether a representation is an actionable statement of

fact is a question of law for courts to decide, Chau v. Lewis,

771 F.3d 118, 128 (2d Cir. 2014), and the “burden rests with




      8     While both the First Amendment and the New York State
Constitution insulate statements of opinion from liability, “[t]he New
York Court of Appeals has consistently found that the New York
Constitution affords greater protection for statements of opinion than
its federal counterpart.”     Chau v. Lewis, 935 F. Supp. 2d 644, 658
(S.D.N.Y. 2013) (citations omitted).       As compared to the framework
established by the Supreme Court for analyzing statements for purposes of
the First Amendment, the approach adopted by the New York Court of Appeals
under the New York Constitution places primary emphasis on the immediate
and broader context of the statement at issue to determine if a reasonable
audience would understand it as an expression of opinion as opposed to a
factual assertion. See Immuno AG. v. Moor-Jankowski, 77 N.Y.2d 235, 240-
52 (N.Y. 1991) (responding to the First Amendment framework announced by
the Supreme Court in Milkovich v. Lorain Journal Co., 497 U.S. 1, 21
(1990)).



                                 – 30 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 31 of 64



the plaintiff to establish that in the context of the entire

communication a disputed statement is not protected opinion.”

Celle, 209 F.3d at 179.

     To    separate    statements       of    fact   from    statements      of

opinion,   courts     analyze    three       factors:   “(1)       whether   the

specific language in issue has a precise meaning which is

readily understood; (2) whether the statements are capable of

being proven true or false; and (3) whether either the full

context of the communication in which the statement appears

or the broader social context and surrounding circumstances

. . . signal [to] readers or listeners that what is being

read or heard is likely to be opinion, not fact.”                     Brian v.

Richardson, 87 N.Y.2d 46, 51 (N.Y. 1995) (citations and

internal quotation marks omitted).

     Ultimately, a court must decide whether the challenged

statements    would    “have     been    understood     by     a    reasonable

[audience] as assertions of fact that were proffered for their

accuracy.”    Id. at 53.        This inquiry “should not consist of

a mechanical enumeration of each factor,” Flamm v. Am. Ass’n

of Univ. Women, 201 F.3d 144, 153 (2d Cir. 2000), and involves

more than viewing the challenged portion of a publication in

isolation.   Davis v. Boeheim, 24 N.Y.3d 262, 270 (N.Y. 2014).

Rather, courts must take a “holistic approach” and focus on

“the over-all context in which the assertions were made and


                                  – 31 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 32 of 64



determine on that basis whether the reasonable reader would

have believed that the challenged statements were conveying

facts   about    the   plaintiff.”        Id.   (citations,     internal

quotation marks, and alterations omitted).

      Thus, based on the context in which it was delivered, a

statement that is capable of being proven false may still be

a non-actionable opinion.         See Steinhilber v. Alphonse, 68

N.Y.2d 283, 294-95 (N.Y. 1986).

      For example, a publication’s “tone and apparent purpose”

may indicate to the audience that what they are hearing is

likely to be a statement of opinion delivered from a “highly

partisan point of view,” Immuno AG., 77 N.Y.2d at 254-55,

rather than an accurate factual assessment offered by a

“disinterested observer,” Brian, 87 N.Y.2d at 53. 9           Similarly,

a publication may indicate to audiences that they are likely

hearing opinionated viewpoints and not factual assessments

when its “tenor . . . often escalates into the hyperbolic,” 10


      9     See also Vengroff v. Coyle, 647 N.Y.S.2d 530, 532 (N.Y. App.
Div. 1996) (reasoning that statements are not actionable when context
establishes that “any reasonable reader should have been aware that [the
publication’s] contents included biased opinion, not objective fact”)
(citations omitted); Goetz v. Kunstler, 625 N.Y.S.2d 447, 452 (N.Y. Sup.
Ct. 1995) (“The content, tone and apparent purpose of these statements
would be a signal to the reasonable reader, as if a giant flag were
raised, that what is being read . . . is likely to be an opinion——a biased
point of view of an activist lawyer——rather than objective fact.”).
      10    Hayashi v. Ozawa, No. 17 Civ. 2558 (AJN), 2019 WL 1409389, at
*5 (S.D.N.Y. Mar. 28, 2019); see also Bellavia Blatt & Crossett, P.C. v.
Kel & Partners LLC, 151 F. Supp. 3d 287, 294 (E.D.N.Y. 2015), aff’d, 670
F. App’x 731 (2d Cir. 2016) (summary order) (“[A]n opinion may be offered
with such excessive language that a reasonable audience may not fairly


                                 – 32 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 33 of 64



when its “tone . . . indicates that the writer is expressing

his or her personal views, in that it reflects a degree of

anger and resentment,” 11 or when it is presented as satire or

fiction that audiences would not reasonably interpret as

“describing actual facts about the plaintiff or actual events

in which [he] participated”. 12        Moreover, when a statement,

“read in context, [is] readily understood as conjecture,

hypothesis, or speculation,” that “signals [to] the reader

that what is said is opinion, and not fact.”          Levin v. McPhee,

119 F.3d 189, 197 (2d Cir. 1997) (citation omitted).

      In   addition    to   the   immediate    contextual    indicators

discussed above, “apparent statements of fact may assume the

character of statements of opinion” when considered in light

of the broader context in which the statement was published.

Steinhilber, 68 N.Y.2d at 294-95 (citation omitted).                 This

includes “circumstances in which an audience may anticipate

[the use] of epithets, fiery rhetoric or hyperbole.”                  Id.

(citation and internal quotation marks omitted).                It also

includes situations where comments are made on free-wheeling



conclude that the opinion has any basis in fact, such as the type of
speech often characterized as rhetorical hyperbole, parody, loose, or
figurative.”) (citation and internal quotation marks omitted).
      11    Sandals Resorts Int’l Ltd. v. Google, Inc., 925 N.Y.S.2d 407,
415 (N.Y. App. Div. 2011).
      12    Netzer v. Continuity Graphic Assocs., Inc., 963 F. Supp. 1308,
1324-25 (S.D.N.Y. 1997) (citations and internal quotation marks omitted).



                                  – 33 –
     Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 34 of 64



internet fora, such as blogs or social media sites, which

courts have generally found to be a persuasive factor in

holding that a statement would be understood by readers as

reflecting the author’s opinion.              See Ganske v. Mensch, 480

F. Supp. 3d 542, 553 (S.D.N.Y. 2020) (“[T]he fact that [the]

allegedly     defamatory     statement    . . .      appeared    on    Twitter

conveys a strong signal to a reasonable reader that this was

[d]efendant’s opinion.”) (listing cases); see also Bellavia

Blatt & Crossett, 151 F. Supp. 3d at 295 (“New York courts

have consistently protected statements made in online for[a]

as    statements    of    opinion   rather    than    fact.”)     (citations

omitted).

       Finally, even when the circumstances above suggest that

reasonable audiences would understand that what is being said

is an opinion, a statement may nevertheless be actionable if

it implies that the speaker’s conclusion is based on his

knowledge of undisclosed defamatory facts.               Gross, 82 N.Y.2d

at 153-54; see Levin, 119 F.3d at 197.                On the other hand,

when a statement of opinion is either “accompanied by a

recitation of the facts on which it is based or . . . does

not imply the existence of undisclosed underlying facts,” it

is    not   actionable.       Gross,     92    N.Y.2d    at     153-54;    see

Steinhilber,       68    N.Y.2d   at   290    (explaining       that   “[t]he

essential task is to decide whether the words complained of,


                                    – 34 –
     Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 35 of 64



considered in the context of the entire communication and of

the circumstances in which they were spoken or written, may

be    reasonably     understood    as    implying      the     assertion    of

undisclosed      facts      justifying     the     opinion”)        (citation

omitted).

       B.     Application to Statements About Rapaport Being
              Racist, a Fraud, a Hack, a Wannabe, and a Liar

       We    start   with   two   broad    categories        of    statements

published by the Barstool Defendants in Twitter tweets, blog

posts,      online   articles,    podcasts,      and   radio      shows   that:

(1) Rapaport is “racist,” 13 and (2) Rapaport is a “fraud,” a

“hack,” a “wannabe,” and a “liar.” 14



      13    The challenged representations for this category are: (1)
tweets calling Rapaport “racist” (DCSOMF ¶ 252) and a “racebaiter” (id.
¶ 254) as well as radio hits, blog entries, videos, and images stating
the same (id. ¶¶ 252, 255-56, 259, 260); (2) a blog entry entitled “Michael
Rapport Possibly Alluded To Comparing A Black Woman To A Monkey,” which
concluded that such a comparison would be “blatantly racist” (id. ¶ 257);
(3) a comment on the radio stating that with Rapaport “everything comes
down to race” and that he “hates white people,” including because he roots
for white athletes to lose just because the color of their skin (id.
¶ 258); and (4) a blog post imagining the context in which Rapaport sent
an insulting tweet to a Black woman stating: “How is that janky wig not
sliding off of your head?” (id. ¶ 253). The blog post about the “janky
wig” comment (id. ¶¶ 250, 253) is not actionable for the independent
reason that reasonable readers would not understand the piece, which is
clearly a figment of the author’s imagination and styled as if it were a
scene from a television show (complete with theme music), to be describing
“actual facts about the plaintiff or actual events in which [he]
participated.” Netzer, 963 F. Supp. at 1324-25.
       14   The challenged representations for this category are blog
posts, tweets, online articles, and radio comments labeling Rapaport a
“fraud,” “wannabe fraud hack,” a “fucking fraud,” a “fraudulent sack of
shit,” a “fucking chump fraud,” a “lying deadbeat fraud hack,” “a loser,
and fraud, and an asshole,” “a fraud hack of a coward,” “a pasty sickly
race baiting fraud hack,” the “biggest fraud I’ve ever met,” an “all-time
fraud,” and other variations on these themes. (DCSOMF ¶¶ 221, 224-49.)
This category also includes statements from a February 2018 video


                                  – 35 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 36 of 64



      As used here, these labels represent nothing more than

the Barstool Defendants’ subjective evaluations of Rapaport

that are incapable of being objectively proven true or false.

      For instance, the observation that someone is “racist,”

i.e., someone who believes that racial differences produce an

inherent    superiority   of   a   particular   race, 15 will   almost

always depend on the eye of the beholder.          To illustrate the

epithet’s subjective nature when used in this context, one

need not look further than the evidence Rapaport introduces

in an attempt to falsify the assertion: that he does not

consider himself to be a racist; that he is married to a Black

woman; that he does not use the issue of race for personal

benefit; and that he has had many Black guests on his podcast

shows.     (DCSOMF ¶¶ 269-71, 315, 317.)        While the Court does

not intend to suggest that Rapaport is in fact racist, this

evidence simply does not establish by objective proof that

the challenged representations are false.

      Statements identifying Rapaport as a “fraud” (someone

who is not the type of person they present themselves to be),

a “hack” (someone who is motivated entirely by money, often

at the expense of integrity or professional standards), or a


published by Barstool called “Fire Rap,” which is analyzed separately
below. (Id. ¶¶ 222-23, 239.)
      15    See Racist, Merriam-Webster Dictionary, https://www.merriam-
webster.com/dictionary/racist.



                                – 36 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 37 of 64



“wannabe” (someone who aspires vainly to emulate or attain

success) 16 suffer from the same defect: when used in contexts

like this case, they are readily understood as inherently

subjective assessments that are incapable of being proven

objectively false. 17

      It is for that reason that courts evaluating similar

comments have routinely held that they are not actionable

statements of fact.       See Cummings v. City of New York, No. 19

Civ. 7723 (CM)(OTW), 2020 WL 882335, at *20 (S.D.N.Y. Feb.

24, 2020) (“Courts in New York have consistently held that

terms   like    ‘racist’    constitute     nonactionable     opinion.”)

(listing cases); Eros Int’l, PLC v. Mangrove Partners, No.

13070, 2021 WL 432837, at *1 (N.Y. App. Div. Feb. 9, 2021)

(citations     omitted)    (finding   that    a   tweet   describing    a

subject as “a fraud” was a non-actionable opinion). 18                The


      16    See Fraud, Merriam-Webster Dictionary, https://www.merriam-
webster.com/dictionary/fraud;    Hack,    Merriam-Webster    Dictionary,
https://www.merriam-webster.com/dictionary/hack;    Wannabe,    Merriam-
Webster Dictionary, https://www.merriam-webster.com/dictionary/wannabe.
      17    While calling someone a “liar” is more capable of being proven
true or false, the context in which the term is used here——e.g., calling
Rapaport a “lying fraud hack” (DCSOMF ¶¶ 221, 231, 233-35, 237, 247)——
demonstrates that the term was simply amplifying the Barstool Defendants’
assessments that Rapaport is not genuine or trustworthy, an inherently
subjective topic. Further underscoring the comments’ subjective nature,
Rapaport does not even attempt to offer any objective evidence that would
prove that the “fraud,” “hack,” “wannabe,” or “liar” statements are false
in the “Falsity of Defendants’ Statements” section of his Rule 56.1
Statement of Material Facts. (See id. ¶¶ 265-71.)
      18    See also Sherr v. HealthEast Care Sys., 416 F. Supp. 3d 823,
843 (D. Minn. 2019) (applying similar standards under Minnesota law and
holding that calling someone a “hack” is a non-actionable opinion that
cannot be “verifi[ed] and cannot reasonably be interpreted as stating


                                 – 37 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 38 of 64



Court agrees with the conclusions reached by these courts,

and thus holds that Rapaport does not carry his burden in

demonstrating that these statements are assertions of fact.

      Moreover, as these statements of opinion do not imply

that they are based on undisclosed facts know to the speaker,

they are not actionable as defamatory “mixed opinions.”              Cf.

Levin, 119 F.3d at 197 (explaining that statements of opinion

“may yet be actionable if they imply that the speaker’s

opinion is based on the speaker’s knowledge of facts that are

not    disclosed     to    the    reader”)     (citation      omitted);

Steinhilber, 68 N.Y.2d at 289 (“When . . . the statement of

opinion implies that it is based upon facts which justify the

opinion but are unknown to those reading or hearing it, it is

a ‘mixed opinion’ and is actionable.”) (citations omitted). 19

      C.    Application to Statements About Herpes and Criminal
            Conduct

      Unlike the statements above, accusations that Rapaport

has herpes, is a stalker, or has committed domestic abuse are




actual facts”) (citations omitted); Ferlauto v. Hamsher, 74 Cal. App. 4th
1394, 1404 (Cal. Ct. App. 1999) (finding that labeling someone a “loser
wannabe lawyer” is “classic rhetorical hyperbole which cannot reasonably
[be] interpreted as stating actual facts” under the First Amendment)
(citations and internal quotation marks omitted).
      19    While context reveals that none of these subjective epithets
would be understood by audiences as implying that it is based on
undisclosed defamatory facts known to the author, the vast majority of
the statements go a step further by explicitly referencing the underlying
bases informing the authors’ opinions. (See DCSOMF ¶¶ 224-27, 229-35,
237, 240-49, 252, 257-58.)



                                 – 38 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 39 of 64



capable of being objectively proven true or false as used in

context.      Here, Rapaport introduces evidence that establishes

that   he     tested   negative        for    herpes      and    has   never    been

convicted      of   stalking      or   battery,         thus    establishing     the

falsity of those assertions.             (DCSOMF ¶¶ 265-68.)

       That    these   statements        are      objectively      false   is    not

dispositive, as the Court must consider the immediate and

broader     context    in    which      each      challenged      statement      was

delivered to determine whether a reasonable audience would

understand the statement to be an assertion about Rapaport

intended to convey factual accuracy.                    See Brian, 87 N.Y.2d at

53.

       In support of his claim, Rapaport generally argues that

the statements would be understood as assertions of fact

because: (1) Barstool holds itself out as an “authentic” brand

that   tells     the   truth;     (2)    many      of     the   statements      were

published      online;      (3)   many       of   the    statements     lacked     a

disclosed factual basis; and (4) the Barstool Defendants

repeated these accusations numerous times in various forms.

(See DCSOMF ¶¶ 301-11.)           Beyond making these broad assertions

and identifying selective portions of larger publications

that he claims to be defamatory, Rapaport spends little time

analyzing the tone and broader context of each statement he

challenges.


                                       – 39 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 40 of 64



       A close review of the challenged statements in context

reveals    that    they    would   not     have   been    “understood      by   a

reasonable       [audience]   as     assertions      of     fact    that   were

proffered for their accuracy.”                Brian, 87 N.Y.2d at 53.

Instead,     context      suggests    that    audiences       would    readily

recognize    the    challenged       statements     as    representing        the

(often overtly biased) viewpoints of the Barstool Defendants.

As discussed in detail below, the statements were largely

laden with epithets, vulgarities, hyperbole, and non-literal

language and imagery; delivered in the midst of a public and

very acrimonious dispute between the Barstool Defendants and

Rapaport that would have been obvious to even the most casual

observer; and published on social media, blogs, and sports

talk    radio,     which    are      all    platforms      where     audiences

reasonably anticipate hearing opinionated statements.

             1.     The “Fire Rap” Video

       We begin with a February 26, 2018 online video entitled

“Fire Rap,” which is a six-minute long so-called “diss track”

of the Barstool Defendants rapping a constant stream of

insults    and    slurs    about   Rapaport       against    a     backdrop     of

unflattering video clips and images of Rapaport.                    This video

contains over a dozen challenged statements, which include

calling Rapaport a “herpes-having motherfucker giving girls

the heebie jeebies,” a “herpes-ridden fuck,” the “perp with


                                     – 40 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 41 of 64



the herp,” and a “75-year-old, herpe-having piece of shit”;

stating that the “only flames that come out [Rapaport’s] mouth

is when [he] ha[s] a flare up”; and threatening to make

Rapaport “as black-and-blue as [his] ex.”              (DCSOMF ¶¶ 199-

200, 205-06, 212, 218-19, 222-23, 239, 251, 256, 259, 261.)

      As an initial matter, the Fire Rap video describes the

recent history of the acrimonious dispute that resulted in

Rapaport’s     termination      just     days     before   the   video’s

publication.    For example, the video reproduces the clip of

Portnoy publicly announcing that Rapaport had been fired as

well as the photoshopped picture that Rapaport tweeted in

response, wherein Rapaport appears to engage in anal sex with

Portnoy.     This background contextualizes for the audience

that the statements in the video are being offered in the

midst of a hostile public feud between Rapaport and Barstool.

See   Steinhilber,    68     N.Y.2d    at   294-95    (suggesting     that

statements may be understood as opinion when an “audience may

anticipate     [the   use]    of      epithets,    fiery   rhetoric    or

hyperbole”) (citation omitted); see also Brian, 87 N.Y.2d at

53 (concluding that an author’s signal in the publication

that “he was not a disinterested observer” put audiences on

notice that the challenged statements were non-actionable

opinions) (citation omitted).




                                   – 41 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 42 of 64



     The tone and apparent purpose of the diss track reinforce

for audiences that the video is not intended to reflect an

accurate     factual   assessment    of    Rapaport.      Exaggerated,

vitriolic words and imagery pervade the six-minute-plus video

to attack all aspects of Rapaport’s life, including his

career, popularity, relationships, appearance, age, and legal

troubles.     For example, alongside the obviously hyperbolic

statements     that    Rapaport    identifies   as     defamatory   are

similarly sensational assertions that Rapaport is a “fucking

10 gallon drum of curdled milk,” a “walking blob of jizz,” a

“snake-oil salesman with nothing to sell,” and a “puddle of

pudding,” and that he looks like “Larry Bird’s mom’s sister,”

or a “chemo Yertle the Turtle.”        The video also suggests that

Rapaport has such poor rap skills that the speaker would

rather “get a spinal tap” or “go out to Neverland Ranch and

sit in Michael’s lap” than listen to him rap.

     On top of these caustic insults, the video also displays

several images and video clips of Rapaport that are obviously

doctored, further underscoring the non-factual nature of the

piece.     The following are just four of the many examples of

these types of photoshopped images:




                                  – 42 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 43 of 64




     If an article’s publication on the Op-Ed page of the New

York Times can create the “common expectation” that it “will

represent the viewpoints of [its] author[] and, as such,

contain considerable hyperbole . . . [and] diversified forms

of expression and opinion,” Brian, 87 N.Y.2d at 53, and if a

letter    to   the     editor   likewise    generates    the   “common

expectation” that it will not “serve as a vehicle for the

rigorous and comprehensive presentation of factual matter but

as one principally for the expression of individual opinion,”

Immuno AG., 77 N.Y.2d at 253 (citation omitted), and if the

context   of   a     heated   labor   dispute   causes   audiences   to


                                 – 43 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 44 of 64



“anticipate    [the   use]        of    epithets,    fiery   rhetoric     or

hyperbole,” and thus allows “apparent statements of fact [to]

assume the character of statements of opinion,” Steinhilber,

68 N.Y.2d at 294-95 (citation omitted), then the Court has no

difficulty concluding that the context of this “diss track”

video   reasonably    signals      to    viewers    that   the   challenged

statements are the prejudiced, opinionated viewpoints of the

Barstool    Defendants,     not    accurate     factual    assessments    of

Rapaport.

     Moreover, none of the challenged statements are rendered

actionable by virtue of implying that they are based on

undisclosed facts known to the Barstool Defendants.                      Cf.

Levin, 119 F.3d at 197.            In fact, the Barstool Defendants

reasonably convey to viewers that photographs of Rapaport

with a red lesion under his lip informed their conclusion

that he has herpes:




     Accordingly,     the    Court      finds   that   Rapaport    has   not

sustained his burden to show that the challenged statements


                                   – 44 –
     Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 45 of 64



in the “Fire Rap” video are actionable assertions of fact

under New York law.

             2.    The “Fired Up” Cartoon

       The Court likewise finds that an eight-minute cartoon

called “Fired Up” published on Barstool’s website less than

a week after Rapaport was fired is not actionable.             (DCSOMF

¶¶    197-98.)     Here,    Rapaport   specifically   challenges      the

cartoon’s depiction of Rapaport with a talking lesion on his

face and its portrayal of a doctor stating that Rapaport has

herpes.

       Like the Fire Rap video, this cartoon summarizes the

background of the ongoing feud between Barstool and Rapaport

and thus creates a reasonable expectation it is likely to

represent     a   biased,   opinionated   viewpoint    as   opposed     an

accurate factual portrayal of Rapaport.          See Brian, 87 N.Y.2d

at 53; Steinhilber, 68 N.Y.2d at 294-95.

       The cartoon also features a series of quite obviously

fictional scenes and events.           For instance, the lesion on

Rapaport’s face is introduced as Rapaport’s “producer” and

even speaks during the video.




                                 – 45 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 46 of 64



     The cartoon also imagines Rapaport as the Stay Puft

Marshmallow Man from “Ghostbusters,” Humpty Dumpty, and a

litigious   ghost   that   sues   his   own   family   for   copyright

infringement for putting his name on a tombstone.




     The scene in which Rapaport is diagnosed with herpes

shows Rapaport lying in a hospital bed with casting covering

his entire body while a doctor states to a boy who is

introduced as Rapaport’s “fake son” that “your fake dad has

herpes.”    The doctor then diagnoses Rapaport with “Ding Dongs

for Brains,” which is described as a fatal condition.




                              – 46 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 47 of 64



       It is self-evident that this crude cartoon is a work of

fiction   and      would   be   understood    as   such.    Just   as   no

reasonable viewer would interpret the cartoon as asserting

for a fact that Rapaport died as a result of having “Ding

Dongs for Brains,” those same viewers would not understand

the cartoon as factually asserting that Rapaport has herpes

or that a lesion on his face speaks and serves as his

producer.      See Netzer, 963 F. Supp. at 1324-25 (statements

that “plainly involve humor, fiction and fantasy” and “could

not be reasonably understood as describing actual facts about

the plaintiff or actual events in which [he] participated”

are not actionable) (citations and internal quotation marks

omitted).

       Moreover, the cartoon does not imply that there are

undisclosed facts known to its creator that would defame

Rapaport.     Cf. Levin, 119 F.3d at 197.          Accordingly, Rapaport

does    not    carry   his      burden   in   demonstrating   that      the

representations in the cartoon are actionable.

              3.    The Herpes/Clown Shirt

       We next consider Rapaport’s claim that he was defamed by

Barstool’s statements promoting and describing a shirt that

Barstool designed and sold.              (DCSOMF ¶¶ 190, 208-09, 213,

215, 217.)     The shirt in question is an artistic rendering of

an actual photograph of Rapaport with a red lesion under his


                                   – 47 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 48 of 64



lip, which Barstool illustrated by adding a clown nose and

coloring both the nose and the lesion the same shade of red

(see DCSOMF ¶ 190):




       Two of the challenged statements contain an image of the

shirt without any further description of it as depicting

Rapaport with herpes.     (DCSOMF ¶¶ 190, 215.)       While hardly

flattering to Rapaport, this image standing alone is not

actionable because a reasonable audience would not understand

the shirt to be asserting as a fact that Rapaport has herpes.

See Shiamili v. Real Est. Grp. of New York, Inc., 17 N.Y.3d

281, 292-93 (N.Y. 2011).

       While the remaining three challenged publications in

this category do suggest that the shirt portrays Rapaport

with herpes, the broader context of these statements reveals

that    reasonable   audiences   would   understand    that    these




                              – 48 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 49 of 64



observations represent the speaker’s opinion, not factual

declarations.

     First,   in    an   online    video,   Nathan   impersonates    a

professor to explain the nature of the Barstool-Rapaport

feud.   (DCSOMF ¶ 217.)       Towards the end of his “lesson,”

Nathan states that Barstool is selling a shirt that “shows

Rapaport has herpes and is a clown,” while the video displays

an image of the shirt. When viewed in context, the challenged

comment is best understood as Nathan’s opinion of what the

image on the shirt depicts, which the audience remains free

to disagree with.        See Levin, 119 F.3d at 197; Gross, 92

N.Y.2d at 154-55.

     Second, in another online video, Smith streams himself

playing a videogame for almost an hour while sharing his

thoughts in a rambling fashion.        (DCSOMF ¶¶ 208-09.)   During

the course of the video, Smith explains that Rapaport is suing

him for defamation because Rapaport “wants it publicly known

that he doesn’t have herpes,” and then stands up to show the

camera that he is wearing the shirt in question.         Smith later

makes comments that allude to Rapaport having herpes by

stating: (1) that he has responded to Rapaport’s insults by

asserting that “herpes lasts forever”; (2) that it is his

observation that Rapaport “has obvious skin issues . . . and

I’m not saying he has any, but all I’m saying is that herpes


                                  – 49 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 50 of 64



last forever”; and (3) that he finds it humorous that this

“douchebag . . . is actually suing me over calling him a fraud

and may or may not alluding to him having a certain skin

ailment.”

       Taken as a whole, the context of these statements——which

were    published        in    an    online       video     of   Smith     playing    a

videogame, which were delivered in a stream-of-consciousness

digression, and which were communicated by a source who made

his    bias   against         Rapaport       clear——reasonably         suggests       to

viewers     that    the       challenged         comments    represented     Smith’s

opinions, not statements of fact offered for their accuracy.

See Brian, 87 N.Y.2d at 53; Versaci v. Richie, 815 N.Y.S.2d

350,    351   (N.Y.      App.       Div.    2006)    (finding       that   “rambling

commentary”        published         in    an     online    forum     suggested       to

audiences that the statements took the form of opinions).

       Finally, on a radio show, Portnoy, Clancy, and a third

Barstool      employee        acknowledge         that     the   bases     for     their

conclusion        that    Rapaport         has    herpes    are     photographs       of

Rapaport with a lesion on his face. 20                           Accordingly, this


       20     The relevant exchange is reproduced below:
       Portnoy: Why are we saying that by the way?                Is that like a
       fact or something?
       Clancy:    I mean you have the pictures.
       Host 3:    He had a cold sore, yeah.
       Portnoy:    Well, pictures doesn’t mean anything does it?
       Clancy:    We are literally selling a t-shirt about it.



                                           – 50 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 51 of 64



exchange is “readily understood as conjecture” premised on a

disclosed factual record, which “signals [to] the [listener]

that what is said is opinion, and not fact.”              Levin, 119 F.3d

at 197 (citation omitted). 21

       As none of the challenged statements discussed above

imply that they are based on the speaker’s knowledge of

undisclosed defamatory facts, here, too, Rapaport does not

meet    his      burden   of    showing    that   these   statements    are

actionable assertions of fact.             Cf. id.




       Portnoy:    It was a picture with an image of him from that
       picture.    But who is saying he has herpes?
       [Host 3 discusses how cold sores are a form of herpes]
       Portnoy:     But people are saying it just because of that
       picture?
       Clancy and Host 3:      Yes.
       Portnoy: Ok, got it.       I don’t think it’s under your chin,
       like where it is.
       Host 3:    Well, they can expand.
       Portnoy: I didn’t know the way it came out. I don’t know
       why people were saying that. It was making me nervous, to be
       honest.
       Clancy: Gotcha. Yeah, I think it is just stemming from those
       pictures of him with that gross whatever it was on his face.
       Host 3:    Yeah.
       Clancy: So, we are talking about Michael Rapaport, obviously.
       . . .
(DCSOMF ¶ 213.)
      21    Likewise, Rapaport’s challenge to the music played on the
program immediately before this exchange, which includes the lyrics, “I
have herpes on my lip,” is not actionable. (See DCSOMF ¶ 194.)



                                      – 51 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 52 of 64



           4.    Video Comment About Rapaport’s “Stalking Case
                 or Whatever”

      Rapaport   next   challenges   Portnoy’s   statements       in   a

February 19, 2018 video that Rapaport “has this stalking case

or whatever he has.”     (DCSOMF ¶ 264.)    As Portnoy makes those

comments, the video displays a news article explaining that

Rapaport was sentenced for harassment of his ex-girlfriend.




      A reasonable viewer would understand Portnoy’s comments

to be conveying his (erroneous) understanding of the charges

described in the article that was simultaneously presented to

the audience, and thus the comments are protected opinions.

See Gross, 82 N.Y.2d at 154-55; Parks v. Steinbrenner, 520

N.Y.S.2d 374, 378 (N.Y. App. Div. 1987) (“That one may dispute

the   conclusions   drawn   from   the   specified   facts   is   not,

however, the test.      So long as the opinion is accompanied by

a recitation of the facts upon which it is based it is deemed



                               – 52 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 53 of 64



a ‘pure opinion’ and is afforded complete immunity even though

the facts do not support the opinion.”).

           5.        Tweets About Herpes

     We   next       consider    Rapaport’s   contention   that   he    was

defamed by three tweets from Barstool employees.

     In analyzing these tweets, we start from the basic

premise that courts interpreting New York law have generally

found that comments made on Twitter are more likely to be

understood      by    audiences     as   statements   of   opinion     than

statements of fact.         See, e.g., Ganske, 480 F. Supp. 3d at

552-53 (observing that a statement’s publication “on Twitter

conveys a strong signal to a reasonable reader that this was

Defendant’s opinion,” and finding that the tweets in question

were not actionable);           Jacobus v. Trump, 51 N.Y.S.3d 330, 339

(N.Y. Sup. Ct. 2017), aff’d, 64 N.Y.S.3d 889 (N.Y. App. Div.

2017) (noting that “social media, such as . . . Twitter, is

increasingly deemed to attract less credence to allegedly

defamatory remarks than other contexts,” and holding that the

tweets at issue were not actionable) (citation and internal

quotation marks omitted).           Beyond this broader context, the

content of the three tweets at issue confirms their non-

actionable nature.




                                    – 53 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 54 of 64



     For example, here is the first tweet:




(DCSOMF ¶ 195.)    This tweet does not even mention Rapaport,

and thus there is no basis on which a reader could reasonably

conclude that it was communicating that Rapaport has herpes.

See Three Amigos SJL Rest., Inc. v. CBS News Inc., 28 N.Y.3d

82, 86 (N.Y. 2016) (stating that to prevail on a defamation

claim,   plaintiffs   must   “prove”   to   the   court   “that   the

statement referred to them and that a person hearing or

reading the statement reasonably could have interpreted it as

such,” which is “not a light” burden) (citations omitted).




                              – 54 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 55 of 64



     The second tweet states:




(DCSOMF ¶ 204.) Though this tweet mentions Rapaport, it would

not be understood as clearly asserting that Rapaport has

herpes.   If anything, the tweet implies to readers that it is

Smith who “will always be here[, l]ike the herp.”

     Finally, here is the third tweet:




(DCSOMF ¶ 210.)   While this tweet falls closer to the line of

being a factual assertion that Rapaport has herpes, context

suggests that the tweet is not an actionable statement of


                              – 55 –
    Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 56 of 64



fact.       In reaching that conclusion, Jacobus v. Trump is

instructive. 51 N.Y.S.3d 330. As Jacobus explained, comments

on Twitter that “could be found to convey facts” when “viewed

in isolation” may not be actionable when context suggests the

statements were contained in “intemperate tweets” published

in the midst of a “hyperbolic . . . dispute cum schoolyard

squabble.” Id. at 343 (citations and internal quotation marks

omitted).     The use of “epithets, fiery rhetoric or hyperbole”

in such heated online exchanges “warrant an understanding

that    the        statements        contained     therein     are     vigorous

expressions of personal opinion, rather than the rigorous and

comprehensive presentation of factual matter.”                       Id. at 339

(citations and internal quotation marks omitted).

       Here, the tweet at issue was published by Clancy as a

response      to     Rapaport’s       insult     about    Clancy’s     familial

situation.     Given that the escalating quarrel was apparent to

anyone who came across the tweet, Clancy’s rejoinder that

Rapaport      is    a    “creepy     herpes     riddled    failure”    is    best

understood as an intemperate epithet delivered in the heat of

a   series    of    charged        personal   attacks     rather   than     as    an

objective factual observation that Rapaport is a failure, is

creepy, and has herpes.

       As    none       of   the    tweets    reasonably     imply    that       the

challenged comments are premised on undisclosed defamatory


                                       – 56 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 57 of 64



facts known to author, Rapaport does not sustain his burden

of demonstrating that these statements are actionable.                  Cf.

Levin, 119 F.3d at 197.

               6.    Blog Posts About Herpes

     Next, Rapaport challenges comments made in five blog

posts.

     As with the tweets discussed above, we begin our analysis

of these blog posts by noting that a statement’s publication

in a blog “suggests that it is informed, at least in part, by

. . .    its    author’s    opinions,”      and   thus   “cuts   against   a

determination that it is an assertion of fact meant to be

taken literally.”          Wexler v. Dorsey & Whitney LLP, 815 F.

App’x 618, 622 (2d Cir. 2020) (summary order).                     The more

specific context of these blogs confirms that they are non-

actionable.

     Four       of   the   blog   posts   give     readers   the    general

background about the animosity between Barstool and Rapaport,

which establishes the authors’ biases against Rapaport, and

then proceed to make hyperbolic comments, such as:

         (1) Smith stating that “I don’t want to beat a dead
         horse to the ground. This is well beyond that. I
         want to stomp the herp-infected horse into a fine
         paste then fire the sludge into the sun.” (DCSOMF ¶
         207);
         (2) Clancy referring to Rapaport as a “moronic
         trashbag,” an “old crusty herpe,” someone who “whores
         himself out to absolutely any outlet that will take
         him because he knows what little career he had left


                                   – 57 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 58 of 64



       is fading fast,” someone who is “not smart enough to
       do this job” because “[h]e’s not clever, he has no
       wit, and he cant keep up with the guys at this company
       who are naturally funny and can do this job quickly
       and effectively,” and someone who was fired by
       Barstool for “open[ing] his herpes infested mouth”
       (id. ¶ 211);
       (3) Nathan calling Rapaport a “herpe having, race
       baiting, D-list actor” (id. ¶ 215); or
       (4) a Barstool employee using the nickname “Herp
       Brooks” in reference to Rapaport, a play-on-words
       invoking the gold medal-winning coach of the 1980
       Miracle on Ice U.S. Olympic men’s ice hockey team (id.
       ¶ 196).

     Thus, both the broader and specific contexts of these

blog posts suggest that reasonable readers would interpret

these insulting comments as opinionated epithets rather than

“assertions of fact that were proffered for their accuracy”

by “disinterested observer[s].”            Brian, 87 N.Y.2d at 53; see

DePuy v. St. John Fisher Coll., 514 N.Y.S.2d 286, 287 (N.Y.

App. Div. 1987) (“A certain amount of vulgar name-calling is

tolerated,   on   the       theory    that     it   will   necessarily   be

understood to amount to nothing more.”) (citation omitted).

     The last blog post, entitled “Sad Story: D List Actor

With A Slight STD Problem Traps Plane Of Innocent Travelers

Inside,”   provides     a   link     to   an   actual   news   story   about

Rapaport, which reports that Rapaport prevented a man from

opening a plane’s emergency door mid-flight.               (DCSOMF ¶ 216.)

The blog post satirically portrays the article as a piece




                                     – 58 –
     Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 59 of 64



about Rapaport trapping people inside the plane with him.                   In

relevant part, the blog post states:

             Awful, awful story tonight. . . . As you
             can see [from the linked story] above, D
             list actor Michael Rapaport stopped
             innocent travelers from jumping out of a
             plane today, forcing them to be in a
             closed space, breathing his same air for
             HOURS until the plane was able to safely
             land.   . . .   Thinking about those sad
             victims who were trying to escape that
             plane by any means necessary, only for
             Rapaport to tackle the brave man who was
             trying with all his might to open the
             emergency door and give everyone freedom.
             Tonight, my thoughts and prayers, as well
             as everyone here at Barstool Sports, are
             with the passengers of that plane who were
             not able to jump out at 35,000 feet
             because of the actions of a pasty man and
             his herpe sidekick.

No    reasonable     reader     would      understand     the   blog   post’s

sardonic tone as accurately describing the linked story, as

the blog post (1) shows the headline of the actual story

(“Michael Rapaport Stops Man from Opening Plane’s Emergency

Door Mid-Flight”), and (2) includes a link to the actual story

that    allows   readers       to   view    the   referenced    article    for

themselves.

       Because    none    of    these      blog   posts   implies   that   the

authors’ opinions are based on undisclosed defamatory facts,

Rapaport     fails   to   carry     his     burden   of   proving   that   the

challenged statements are actionable.                Cf. Levin, 119 F.3d at

197.


                                     – 59 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 60 of 64



               7.      Radio Comments About Herpes and Stalking

     We    finally        consider      Rapaport’s         claims     that    he    was

defamed    by       comments     made    on     various      sports    talk     radio

broadcasts.

     First,         Rapaport     challenges        comments     made       during    a

September 25, 2018 radio show in which the host states: (1)

that Rapaport “wants to make clear that he doesn’t have

herpes,” which “makes you think that he has herpes”; and (2)

that Rapaport is “saying he doesn’t have herpes when he pretty

clearly had a red mark near his mouth.”                     (DCSOMF ¶¶ 202-03.)

Both of these comments amount to no more than speculation

about why Rapaport would be denying that he has herpes as

opposed to an assertion of fact that Rapaport has herpes.

     Second, Rapaport identifies two statements made on a

March     2,    2018     radio    broadcast        discussing        how     Rapaport

challenged Portnoy to a boxing match.                      (DCSOMF ¶¶ 214, 220.)

While   discussing         Rapaport’s         proposal,     Portnoy     and    Clancy

complain that Rapaport wants to make money off of the fight

while   Barstool         would   be     the    only    entity   paying        for   its

promotion.          In    comments      styled        as   demands    directed       to

Rapaport, Portnoy and Clancy state: (1) if you “put up 250

grand of your own money,” then “this fight is on and, until

then, shut your fucking herpes face up dude”; and (2) “there

has to be something put up beforehand that we know we have in


                                        – 60 –
  Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 61 of 64



hand, so literally put your money where your herpes mouth

is.”

       Rather than an accurate factual assessment of Rapaport

from disinterested observers, these comments made on a sports

talk radio show would be reasonably understood by listeners

as fiery, epithet-laced taunts intended to be a display of

machismo in response to Rapaport’s proposal to physically

fight    Portnoy.        When   “[g]ratuitously    tasteless      and

disparaging” remarks like these are made in a “crude and

hyperbolic manner” on a “shock talk” radio show, “it is clear”

that such comments “would not have been taken by reasonable

listeners as factual pronouncements.”         Hobbs v. Imus, 698

N.Y.S.2d 25, 26 (N.Y. App. Div. 1999); see Steinhilber, 68

N.Y.2d at 294-95 (statements may be understood as opinions in

circumstances    where   audiences   “anticipate    [the   use]      of

epithets, fiery rhetoric or hyperbole”) (citation omitted).

       Third, Rapaport asserts that two statements Portnoy made

on a February 19, 2018 radio show were defamatory.          (DCSOMF

¶¶ 262-63.)     The segment in question begins with Portnoy

asking a Barstool host, “[Rapaport] has, what, a stalking

charge or something in his past?”           The host immediately

answers that it was a harassment charge. A few seconds later,

Portnoy then references the criminal charge as Rapaport’s

“stalking case or whatever that was.”


                                – 61 –
     Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 62 of 64



       Portnoy’s first statement quite obviously would not be

understood as an assertion of fact, as it was posed as a

question that was accurately answered by the show’s host.

And, when considered in context, Portnoy’s second statement

made less than 20 seconds later would be reasonably understood

as nothing more than an equivocal reference to the harassment

charge that had just been discussed.

       Here, too, none of the statements reasonably implies

that the speakers’ opinions rest on undisclosed defamatory

facts, and thus Rapaport does not meet his burden of proving

that the complained of statements are actionable assertions

of fact.      Cf. Levin, 119 F.3d at 197.

       Finally, Rapaport challenges statements contained in

Barstool’s internal summaries of its radio shows, which were

authored by a non-defendant Barstool employee and sent solely

to    other   Barstool    employees.       (DCSOMF   ¶¶    191-93,    201.)

Rapaport cannot sustain his defamation claim against Barstool

based on the email summaries themselves, as the evidence does

not establish that they were ever published by Barstool to

third parties outside of the company.            See Hope v. Hadley-

Luzerne Pub. Libr., 94 N.Y.S.3d 723, 724 (N.Y. App. Div. 2019)

(explaining      that     “defamation   requires       proof   that    the

defendant      made   a   false   statement[    and]      published   that

statement to a third party”) (citation and internal quotation


                                  – 62 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 63 of 64



marks omitted).       Moreover, the summaries are self-evidently

not verbatim transcripts of the actual comments made on air.

Rather, they appear to describe comments made on broadcasts

that Rapaport separately identified as defamatory, 22 which are

not actionable for the reasons stated above in analyzing those

statements. 23


      22    See DCSOMF ¶¶ 191-92 (describing the comments made on the
February 19, 2018 Barstool Radio show, which Rapaport challenged in
Paragraphs 194 and 213 of his Rule 56.1 Statement of Material Facts); id.
201 (describing the comments made on a March 2, 2018 Barstool Radio show
and related video, which Rapaport challenged in Paragraphs 214 and 220 of
his Rule 56.1 Statement of Material Facts).
      The one exception is the summary referenced in Paragraph 193 of
Rapaport’s Rule 56.1 Statement of Material Facts, which does not appear
to summarize a recording of any broadcast provided to the Court. That
summary states that on the February 20, 2018 broadcast of Barstool Radio,
the hosts discuss how “Rapaport went on FS1 today and claimed that he is
going 15 rounds with us, despite lawyering up in 15 minutes when we put
his herpes-riddled face on a t-shirt that is selling like wildfire,” which
Rapaport objects to because it refers to him as “herpes-riddled.” (Id.
¶ 191.) The “herpes-riddled” comment was not actually aired during the
described portion of the February 20, 2018 Barstool Radio broadcast, which
the Court was able to locate on Barstool’s website:
      Clancy: Rapaport was on Fox Sports today doing all of their
      shows and flapping his gums about us and talking about how
      tough he is and how is the biggest disrupter on the internet
      and how he is going 15 rounds with us. But the reality of
      the matter is that yesterday, after about 15 minutes, he
      decided to lawyer up.     We have been selling the Michael
      Rapaport clown shirts . . .
      Portnoy:    Big seller.
      Clancy:    Big seller, right.
Barstool Radio, Michael “Takes It As Well As He Gives It” Rapaport
Lawyered Up In 15 Minutes Over The Clown Shirt, Barstool Sports (Feb. 20,
2018), https://www.barstoolsports.com/video/940220/michael-takes-it-as-
well-as-he-gives-it-rapaport-lawyered-up-in-15-minutes-over-the-clown-
shirt. Given the absence of any reference to herpes, this exchange is
not defamatory. The Court takes judicial notice of the February 20, 2018
Barstool Radio broadcast published on Barstool’s official website on the
same date, as the accuracy of the source and its contents “cannot
reasonably be questioned.” Fed. R. Evid. 201(b)(2).
      23    Having resolved the fraud and defamation claims, all that
remains are the parties’ contractual claims. Given the clear limits on
the maximum recovery for each party’s breach of contract claims as well


                                  – 63 –
   Case 1:18-cv-08783-NRB Document 151 Filed 03/29/21 Page 64 of 64



                               CONCLUSION

      In summary, Rapaport’s motion for summary judgment is

denied.   Barstool’s motion for summary judgment on Rapaport’s

fraud claims is granted, as those claims are duplicative of

Rapaport’s    breach    of     contract     claims.     The    Barstool

Defendants’    motion    for    summary     judgment   on     Rapaport’s

defamation claim is granted, as Rapaport fails to sustain his

burden of proving that the challenged representations are

actionable statements of fact under New York law.               Finally,

the Court awards summary judgment to Barstool on Rapaport’s

breach of contract claim contained in Count Four relating to

the “Death Wish” video.

      The Clerk of Court is respectfully directed to terminate

the motions currently pending at ECF Nos. 103 and 119.

      SO ORDERED.

Dated:      New York, New York
            March 29, 2021

                                     ____________________________
                                         NAOMI REICE BUCHWALD
                                     UNITED STATES DISTRICT JUDGE




as the parties’ investment in this lawsuit to date, the Court is hopeful
that the parties can reach resolution on the remaining disputes.



                                 – 64 –
